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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:23-CV-23575

  PATRICIA SEVERINO,

        Plaintiff,

  vs.

  7-ELEVEN, INC.,

        Defendant.
  ______________________________/

         PLAINTIFF’S AMENDED NOTICE OF FILING RETURN OF SERVICE
                       ON DEFENDANT, 7-ELEVEN, INC.

        Plaintiff Patricia Severino files the Return of Service on Defendant, 7-Eleven, Inc. (served

  on September 20, 2023).

        Dated this 26th day of September 2023.


                                                        s/Brian H. Pollock, Esq.
                                                        Brian H. Pollock, Esq.
                                                        Fla. Bar No. 174742
                                                        brian@fairlawattorney.com
                                                        FAIRLAW FIRM
                                                        135 San Lorenzo Avenue
                                                        Suite 770
                                                        Coral Gables, FL 33146
                                                        Tel: 305.230.4884
                                                        Counsel for Plaintiff




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                                                       RETURN OF SERVICE

                                           UNITED STATES DISTRICT COURT
                                               Southern District of Florida
Case Number: 23-CV-23575-RNS

Plaintiff:
PATRICIA SEVERINO
vs.
Defendant:
7-ELEVEN, INC.

For:
Brian Pollock, Esq.
FairLaw Firm
135 San Lorenzo Avenue, Suite 770
Coral Gables, FL 33146

Received by Miami PSPI, LLC on the 19th day of September, 2023 at 1:14 pm to be served on 7-ELEVEN, INC. by serving
Corporate Creations Network, its Registered Agent, 801 US Highway 1, North Palm Beach, FL 33408.

I, Wayne Pollick, do hereby affirm that on the 20th day of September, 2023 at 1:00 pm, I:

served a CORPORATION by delivering a true copy of the SUMMONS IN A CIVIL ACTION and COMPLAINT with the date
and hour of service endorsed thereon by me, to: Maribi Juan, service of process specialist as Authorized Employee Of
Registered Agent for 7-ELEVEN, INC., at the address of: 801 US Highway 1, North Palm Beach, FL 33408, and informed
said person of the contents therein, in compliance with Florida statute 48.081.

Description of Person Served: Age: 20, Sex: F, Race/Skin Color: Hispanic, Height: 5'1", Weight: 170, Hair: Black, Glasses: Y

I acknowledge that I am over the age of 18 years, in good standing in the judicial circuit in which this process was served,
and that I have no interest in the above action. Under penalty of perjury, I declare that I have read the foregoing Return of
Service and the acts stated in it are true. F.S. 92.525(2).




                                                                                        Wayne Pollick
                                                                                        Process Server CPS #856

                                                                                        Miami PSPI, LLC
                                                                                        1800 Coral Way, Suite 1511
                                                                                        Miami, FL 33145
                                                                                        (305) 285-4321

                                                                                        Our Job Serial Number: NAY-2023001548




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